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JUDGE JONBS

X 11 CW 7950

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

CANDIDA DELMORAL, )
) COMPLAINT
Plaintiff, )
) JURY TRIAL DEMANDED
-against- )
) ECF Case
THE CITY OF NEW YORK, HAILOON WANG, )
RANDY ROSE, PAUL GAGLIO, )
and JOHN and JANE DOES, )
)
Defendants. )
X
PRELIMINARY STATEMENT
l. This is a civil rights action in Which the plaintiff seeks relief for the defendants’

violation of rights secured by the Civil Rights Act of 1871, 42 U.S.C. Section 1983, and by the
United States Constitution, including its Fourth and Fourteenth Amendments. The plaintiff
seeks damages, both compensatory and punitive, affirmative and equitable relief, an award of
costs and attorneys’ fees, and such other and further relief as this court deems equitable and
just.
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2. This action is brought pursuant to the Constitution of the United States, including
its Fourth and Fourteenth Amendments, and pursuant to 42 U.S.C. § 1983. Jurisdiction is
conferred upon this court by 42 U.S.C. § 1983, and 28 U.S.C. §§ 1331 and l343(a)(3) and (4),
this being an action seeking redress for the violation of the plaintist constitutional and civil
rights.
JURY TRIAL DEMANDED

3. Plaintiff demands a trial by jury on each and every one of the claims pleaded

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herein.
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4. Venue is proper for the United States District Court for the Southern District of
New York pursuant to 28 U.S.C. § 1391 (a), (b) and (c).

PARTIES

5. Plaintiff CANDIDA DELMORAL is a resident of the City and State of New
York.

6. Defendant THE CITY OF NEW YORK is and was at all times relevant herein a
municipal entity created and authorized under the laws of the State of New York. lt is
authorized by law to maintain a police department which acts as its agent in the area of law
enforcement and for which it is ultimately responsible. Defendant THE CITY OF NEW YORK
assumes the risks incidental to the maintenance of a police force and the employment of police
officers as said risk attaches to the public consumers of the services provided by them.

7. Defendants WANG, ROSE, GAGLIO, and DOES are and were at all times
relevant herein duly appointed and acting officers, servants, employees and agents of THE
CITY OF NEW YORK and/or the New York City Police Department, a municipal agency of
defendant THE CITY OF NEW YORK, The aforenamed defendants are and were at all times
relevant herein acting under color of state law in the course and scope of their duties and
functions as officers, agents, servants, and employees of defendant THE CITY OF NEW
YORK, were acting for, and on behalf of, and with the power and authority vested in them by
THE CITY OF NEW YORK, and were otherwise performing and engaging in conduct incidental
to the performance of their lawful functions in the course of their duties. The aforenamed

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defendants are sued in their individual capacities.
STATEMENT OF RELEVANT FACTS

8. On April 18, 2009, at or about 4:27 a.m., plaintiff DELMORAL was on the
sidewalk in the vicinity of 160 East 103rd Street, New York, New York. Plaintiff had just left a
family gathering with other family members.

9. Suddenly and without warning, plaintiff was assaulted by defendants WANG,
ROSE, GAGLIO, and DOES, thrown to the ground, against a wall, and against a parked
automobile.

10. Plaintiff was then placed in handcuffs, arrested, and charged with Assault in the
Third Degree. All charges were subsequently dismissed

FIRST CLAIM

DEPRIVATION OF RIGHTS UNDER THE
UNITED STATES CONSTITUTION AND 42 U.S.C. §1983

11. The plaintiff incorporates by reference the allegations set forth in all preceding
paragraphs as if idlly set forth herein.

12. By their conduct and actions in falsely arresting plaintiff DELMORAL, by
fabricating evidence against plaintiff, by using excessive force against plaintiff, and by failing to
intercede to prevent the complained of conduct, defendants WANG, ROSE, GAGLIO, and
DOES, acting under color of law and without lawful justification, intentionally, and/or with a
deliberate indifference to or a reckless disregard for the natural and probable consequences of
their acts, caused injury and damage in violation of plaintiff s constitutional rights as guaranteed

under 42 U.S.C. § 1983 and the United States Constitution, including its Fourth and Fourteenth

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Amendments.

13. As a result of the foregoing, plaintiff was deprived of liberty, suffered serious
physical injuries, emotional distress, humiliation, costs and expenses, and was otherwise
damaged and injured.

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LIABILITY OF THE CITY OF NEW YORK
FOR CONSTITUTIONAL VIOLATIONS

14. The plaintiff incorporates by reference the allegations set forth in all preceding
paragraphs as if fully set forth herein.

15. At all times material to this complaint, defendant THE CITY OF NEW YORK
had § faLto policies, practices, customs and usages which were a direct and proximate cause of
the unconstitutional conduct alleged herein.

16. At all times material to this complaint, defendant THE CITY OF NEW YORK
failed to properly train, screen, supervise, or discipline employees and police officers, and
failed to inform the individual defendants’ supervisors of their need to train, screen, supervise
or discipline defendants WANG, ROSE, GAGLIO, and DOES.

17. The policies, practices, customs, and usages, and the failure to properly train,
screen, supervise, or discipline, were a direct and proximate cause of the unconstitutional
conduct alleged herein, causing injury and damage in violation of plaintist constitutional rights
as guaranteed under 42 U.S.C. § 1983 and the United States Constitution, including its Fourth
and Fourteenth Amendments.

18, As a result of the foregoing, plaintiff was deprived of liberty, suffered serious

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physical injuries, emotional distress, humiliation, costs and expenses, and was otherwise
damaged and injured.
WHEREFORE, plaintiff demands the following relief jointly and severally against all
of the defendants:
a. Compensatory damages;
b. Punitive damages;
c. The convening and empaneling of a jury to consider the merits of the claims
herein;
d. Pre- and post-judgment costs, interest and attomey’s fees;
e. Such other and further relief as this court may deem appropriate and
equitable.

Dated: v New York, New York
October 19, 201 1

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